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4556.019

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Attornegs for Plaintiff UN"[TEDI-[EALTH GROUP
EMPL YEE HEALTH BENEFIT PLAN

 

UNITED sTA'rES DISTRICT CoURT `
cENTRAL I)ISTRICT oF CALIFORNIA, SoUTHERN bmsioN

UNITEDHEALTH GROUP EMPLOYEE Case NO. SACV11'01331 DOC (ANX)
HEALTH BENEFIT PLAN,

Plaintiff, COMPLAINT FO_R EQUITABLE
RELIEF (CONSTRUCTIVE TRUST/
vs. EQUITABLE LIEN BY AGREEMENT;
' DECLARATORY JUDGMENT; A.ND
DAVID SANDHU; STEVEN C- INJUNCTIVE RELIEF)

EGGLESTON DBA LAW OFFICES OF
STEVEN C. EGGLESTON; and DOES 1
through 20, inclusive,

Defendants.

 

 

Now Comes Plaintiff UNITEDI-IEALTH GROUP EMPLOYEE BENEFIT PLAN
(the “Plan”) and complains against Defendants DAVID SANDHU and STEVEN C.
EGGLESTON DBA LAW OFFICES OF STEVEN C. EGGLESTON, and DOES 1

through 20, inclusive, as follows:

 

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CC)MPLAINT

 

 

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NATURE OF ACTION
l. This is an action under 29 U.S.C. §l l32(a)(3), brought by the Plan
fiduciary to enforce theterrns of the Plan and to obtain appropriate relief as authorized

by the federal common law and statutory scheme of the Employee Retirement Income
Security Act of 1974 (“ERISA”), 29 U.S.C. § 1001, et seq.

.IURISDICTION
2. This Court has original and exclusive jurisdiction over Plaintiff' S claims

for relief pursuant to ERISA § 502(e)(l), 29 U.S.C. § 1132(€)(1).

VENUE
3. Venue is proper pursuant to ERISA § 502(e)(2), 29 U.S.C. § ll32(e)(2), of
ERISA because Defendants reside and/or have their principal place of business in this
judicial district and because, on information and belief, the funds at issue are being held

in this judicial district

PARTIES

4. Plaintiff UNITEDI-IEALTH GROUP EMPLOYEE BENEFIT PLAN is an
employee Welfare benefit plan Within the meaning of ERISA § 3(1), 29 U.S.C.

§ 1 002(1).

5. Defendant David Sandhu (“SANDHU”) is a citizen of the State of
California, residing in the County of Orange, City of Cypress. At all times relevant
hereto, SANDHU Was a participant or beneficiary in the Plan With the meaning of
ERISA § 3(7), (8).

6. Defendant Steven C. Eggleston is an individual doing business as Law
Offices of Steven C. Eggleston (“EGGLESTON”) in the State of California, County of
Orange, at 2601 Main St., Suite 800, Irvine, California 92614. EGGLESTON is counsel
to -SANDHU. Plaintiff is informed and believes and on that basis alleges that

 

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COMPLAlNT

 

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EGGLESTON holds certain funds that are the subject of this action or is entitled to
receive funds in the immediate future that are the subject of this action.
E_A_§l§

7. The Plan provides certain health care benefits to eligible UnitedHealth
Group, lnc. employees and their dependants, including medical benefits The Plan is
self-funded out of the general assets of UnitedHealth Group, Inc.

8. Benefits provided under the Plan are contained Within the Summary Plan
Description of the UNITEDHEALTH GROUP EMPLOYEE BENEFIT PLAN (the
“SPD”). A true and correct copy of the SPD is attached as Exhibit A to this Complaint.

9. The-SPD provides that When the Plan has paid benefits “that result from an
event for Which a third party is or may be liable,” the Plan is “has certain subrogation
and reimbursement rights.” Ex. A, p. 8.

10. The SPD further specifies the following subrogation and reimbursement
rights:

¢ “The Plan has a first-priority claim for 100% of the benefits the Plan
has paid, against any ‘amount’ that you may recover, and has the right
to be reimbursed first and immediately from such amounts before you
are entitled to keep them, regardless of Whether the amounts make
you Whole and represent a full recovery, or represent only a partial
recovery to you, and regardless of how the amounts are characterized
For this purpose, ‘amount’ means any recoveries, settlements or other
amounts that you, your covered Eligible Dependent(s) or your other
representatives receive or become entitled to from any third party that
is or may be liable for the event that resulted in the Plan paying
benefits, and means the medical, dental and other expenses that you
and/or your covered Eligible Dependent(s) incur for Which the Plan

has paid or Will pay benefits.”

 

3
COMPLAINT

 

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ll.

“To file an equitable lien, or seek a constructive trust or other relief
against you, another person or entity for any amounts, to secure its
subrogation and reimbursement rights.”

“To make a claim or file a lawsuit in your or your covered Eligible
Dependent’s name against any plan, person, entity, insurer (first party
or third party), or intervene in any action against such persons to

secure its subrogation and reimbursement rights.”

Ex. A, p. 9.
The SPD also advises Plan participants that “[b]y enrolling in the Medical

Plan. . .you agree to:”

0 “Notify the Claims Administrator for the Plan in writing of any

potential or actual third-party liability claims that you an/ or your
covered Eligible Dependent(s) have or may have;”

“Provide any requested information that assists the Plan in pursuing
its subrogation or reimbursement rights as soon as possible, and, in
any event, before you agree to any kind of settlement of your third-
party liability claims or bring a legal action against any other party;”
“Obtain consent from the Plan before you release a third partyl from
liability with respect to an event for Which the Plan has paid
benefits;”

“Cooperate With the Plan to protect and pursue its subrogation and
reimbursement ri ghts;”

“Sign and deliver documents that relate to the Plan’s claims for
subrogation and reimbursement, and;”

“Pay any legal fees that you incur in connection with a claim or
lawsuit against a third party.”

Ex. A, p. 9.

 

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l2. The SPD requires fiill cooperation from Plan participants, such as
SANDHU, in enabling the Plan to enforce its subrogation rights. EX. A, p. 9.

13. On July 4, 2008, SANDHU suffered injuries in connection With an
automobile accident (the “Accident”).

14. The Plan paid medical expenses in the amount of 587,603.69 on behalf of
SANDHU for treatment of injuries sustained by SANDU as a result of the Accident.

15. The Plan paid the benefits referenced in the paragraph above, and
SANDHU accepted them, under the express condition contained in the SPD that
SANDHU Would reimburse the Plan to the extent of benefits paid if he received a
recovery from any third party or insurance company or carrier or first party insurance
carrier.

16. SANDHU retained the services of attorney EGGLESTON to pursue claims
related to the Accident.

l7. After learning SANDU’s claim, the Plan promptly put SANDHU and
EGGLESTON on notice of its potential subrogation rights on or about May 25, 2011.

18. Shortly thereafter, in 20l l, the Plan learned that SANDHU and/or his
attorney EGGLESTON had obtained proceeds of injury settlements with one or more
parties, in connection With SANDHU’S claim. The Plan is informed and believes and
on that basis alleges that the third parties participating in the settlement are Verizon, and
insurance carrier, Esurance.

19. The Plan is informed and believes and on that basis alleges that the one or
more settlement payments obtained by EGGLESTON, on behalf of SANDHU, are in the
total amount of $850,000.

20. The Plan is further informed and believes and on that basis alleges that the
settlement sum of approximately $850,000, or a portion thereof, is in the possession of
EGGLESTON in EGGLESTON’S trust account or is in the process of being paid to
EGGLESTON.

 

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21. The Plan subsequently attempted to ascertain the status of the settlement of
the third-party claim to assess SANDHU’S potential obligations under the Plan.

22. Despite repeated demands, SANHU and EGGLESTON refused, and
continue to refi.ise, to reimburse the Plan the amount of $87,603.69 out of the funds they
received in settlement of SANDU’S claim.

23. Plaintiff is informed and believes and on that basis alleges that
EGGLESTON retains all or a portion of the settlement monies received by SANDHU in
connection with SANDHU’S third-party claim.

24. Plaintiff is informed and believes and on that basis alleges that
EGGLESTON has previously or intends in the future to distribute sums to SANDHU

from the monies received as a result of the settlement of the claim.

FIRST CAUSE OF ACTION
Aga_inst All Defendants for EOUITABLE RELIEF UNDER ERISA 8 502(§)(3)

(CONSTRUCTIVE TRUST / EOUITABLE LIEN BY AGREEMENT)

25. Plaintiff re-states and re-al_leges paragraphs l through 24 of the Complaint
as if fully set forth herein.

26. Pursuant to the SPD, the Plan has a right to reimbursement for the
$87,603.69 in medical benefits it paid on behalf of SANDHU as a result of the
Accident.

27. SANDHU has rehised to reimburse the Plan the amount of $87,603 .69, in
violation of the terms of the SPD.

28. SANDHU has been unjustly enriched by his refusal to reimburse the Plan
for the medical benefits it paid on his behalf.

29. Plaintiff’s right to a constructive trust and equitable lien by agreement
extends to any attorney’s fees and costs retained from the settlement proceeds by
EGGLESTON. Such attorneys’ fees and costs are subject to the Plan’s constructive

trust and equitable lien rights over the settlement proceeds.

 

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30. As a result of SANDHU’S violation of the terms of the SPD, the Plan has
been harmed and Plaintiff seeks all appropriate equitable relief, pursuant to ERISA
§502(a)(3), to enforce the terms of the SPD, including:

(a) the imposition of a constructive trust or equitable lien by agreement
in favor of the Plan upon settlement proceeds in possession of SANDHU
and EGGLESTON in the amount of $87,603.69;

(b) a declaration of the Plan’s ownership of the above-referenced
settiement proceeds up to the full amount of payments made by the Plan for
SANDHU’S medical expenses of $87,603.69; and

(c) an order directing SANDHU and EGGLESTON, respectively, to pay
or turn over such settlement proceeds, plus accumulated interest, to the

Plan to the extent of its interest therein of $87,603.69.

SECOND CAUSE OF ACTION

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3 l. Plaintiff re-states and re-alleges paragraphs l through 30 of the Complaint
as if fully set forth herein.

32. Under 29 U.S.C. §ll32(a)(2) Plaintiff brings this equitable action to
enforce the terms of the SPD, which is permitted by ERISA.

33. Plaintiff contends that it has a right to reimbursement under the SPD for the
$87_,603.69 in medical benefits the Plan paid on behalf of SANDHU as a result of the
Accident.

34. Plaintiff contends that SANDHU has refused to reimburse the Plan, in
violation of the terms of the SPD.

35. Plaintiff is informed and believes and on that basis alleges that SANDHU
disputes these contentions and claims that Plaintiff does not have a right to

reimbursement to any or a portion of the settlement proceeds

 

7
COMPLAINT

 

 

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36. Thus, a dispute has arisen and an actual controversy exists between the

,Plan and Defendants with regard to the proper interpretation and application of the SPD,

37. A declaration of rights, responsibility and obligations of the Plan and the

Defendants is essential to determine the respective rights and obligations of the parties.

THIRD CAUSE OF ACTION

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38. Plaintiff re-states and re-alleges paragraphs l through 37 of the Complaint
as if fully set forth herein.

39. Pursuant to Section 502(a)(3) of ERISA a fiduciary may bring an action to
enjoin any act or practice which violates the terms of the SPD. l

40. Plaintiff is informed and believes and on that basis alleges that Defendants
are in`possession of funds that are property of the Plan.

41. Defendants are protecting the funds sought herein over which Plaintiff
claims a right to reimbursement and are prejudicing the Plan’s right to recovery.

42. If Defendants are permitted to disburse said funds, the funds may no longer
be traceable and under control of Defendants.

43. That unless Defendants are enjoined from disbursing those funds, the Plan
Will suffer irreparable injury.

44. The entry of an injunction will not harm Defendants and is in keeping With

public policy of preserving the integrity of ERISA.

PRAYER FOR RELIEF
WHEREFORE, Plaintiff UNITEDHEALTH GROUP EMPLOYEE BENEFIT
PLAN prays that the Court enter a Judgment and Order in its favor and against
Defendants DAVID SANDHU and STEVEN C. EGGLESTON DBA LAW OFFICES
OF STEVEN C. EGGLESTON, and DOES l through 20, inclusive, granting Plaintiff

the following relief:

 

8
COMPLAINT

 

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1. The imposition of an equitable lien by agreement and constructive trust in
favor of Plaintiff over a portion of the 3850,000 in settlement proceeds identified herein
paid by Verizon and Esurance to DAVID SANDHU and the LAW OFFICES OF
STEVEN C. EGGLESTON, in the amount of $87,603.69 plus accumulated interest;

2. A declaration of the Plan’s ownership of the above-referenced settlement
proceeds up to the full amount of payments made by the Plan for SANDHU’S medical
expenses;

3. An Order directing EGGLESTON and SANDHU to pay or turn over a
portion of such settlement proceeds in the amount of $87,603.69, plus accumulated
interest, to the Plan to the extent of the Plan’s interest therein;

4. An Order enjoining Defendants and those acting in concert with
Defendants from disbursing the settlement funds;

5. Awarding the Plan its attorney fees and costs against Defendants;

6. For pre- and post-judgment interest at the legal rate; and

7. Granting any such other equitable and legal relief to the Plan as this Court

deems just and appropriate

DATED: September _]_, 2011 GRANT, GENOVESE & BARATTA, LLP

By: //7%)\/‘ h

.l S BARATTA

JASON S. ROBERTS
Attorne s for Plaintiff, UNITEDI-[EALTH
I(;rlP;§)N EMPLOYEE HEALTH BENEFIT

 

9
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EXH]BIT A

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HEALTH PLAN ADM|N|STRAT|VE
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` ihis Health Plan

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the Benefr'ns Handbock
is effective January l,
2003 and supersedes

` all prior versions of die
Benef)ts Handhook,
including all
amendments

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Status of the Beneiits 'Handbook as the
Sarnmary Plan Descziptinns for ER|SA Plans

UnitedHea|th Group lnoorporated lUn`rtedHealth Group or the
Company) sponsors the UnitedHea|th Group Employee Health

Benefit Plan lthe l-laalth Plan)r which consists of the Medica| Plan
(Definity Options A, B and C and Options PPO). Other Medica| Plan
Coverage options for certain categories of Eligib|e Employees lPacific
Dental Benefits Employee Heaith Plan (Union). Unitedi-lealthcare PPO
of Hawaii. PacifiCare SignatureValue Plan, Pac'rliCare SignatureVelue
Advantage Pian and Globai Choice Plan). Dental Plan, \frsion Plan and
Health Care Flexible Spending Account Plan lthe Health Care FSA
Plan). They are subject to the Employee Retirement lncome Security
Act of 19‘74 (ER|SA) end must be summarized in a summary plan
description (SPD).

The SPD for each of the EFi|SA benefit plans consists of the Bene§ts

4 Overview Sectr'on, the Summaries for the specific component

plans (such as the Medical Plan Summaryl and this Healrh Plan
Administrative lnformation Summary. The Summaries for the Other -
Nledical Plan Coverage Options are available on the United HFlclirect
Knowiedge Base. You can therefore obtain Summaries of the Pacific
Dental Benefits Employee Heaith Plan iUnion), UnitedHealthcare PPO
of Hawah, PacifiCare SignatureValue Plan, Pac'riiCare Signaturevaiue
Advantage Pian and Giobal Choi_ce Plan by assessing the United
HRdirect Knowledge Base via the United HRdirect Web site. either
through the Frontier horne page or through hnps:ll_unitedhtdir_em.com

Go'rrerning Plan Donumentation

The Benefits Handbool< summarizes the benefit plans that
UnitedHealth Group sponsors, describes the general operation of the
benefit plans and outlines your rights and obligations under them.

For the Medical Plan. Pacific Denta| Benefits Emp|oyee Health Plan
lUnion), UnitedHea|thcare PPO of l-lawaii, Dentai Plan and Hea|th Care
FSA Plan, the SPD that is set forth in the Benefits Handbook or in the
United HRdirect |<nowledge Base and in the Beneiits Handbcoi< is
also the official plan document for the Plan. The Plan Administrator
uses this dual-status document to administer these benefit plans.

For the PacitiCare Signaturevalue Plan. PacifiCare Signawre\la|ua
Advantage Plan, Gioba| Choice Plan and Vision Plan, the official plan
document is the insurance policy that is issued by the Plan’s insurer.
The SPD merely summarizes the benefits provided under the Plan. li
there is a discrepancy between the SPD in the Benefits Handbool< and
the otdcial plan document the plan document will control.

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plans lit ls also die Plan
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plans). Um'tedllealth
Group has authority

to delegate and has
delegated certari'r
authority and duties

to other parties who
are thiel-party
adrnr'nr`slrator'sl
fiduciaries and/or
trustees

Company's Reservation cf Right to Araend and
Terminate the Plans

Unitedl-lealth Group reserves the right to. at any time, amend or
terminate the benefrt plans discussed in this Benefits Hanclbcok for
any reason and in its sole discretion UnitedHea|th Group's right to
amend or terminate the benefit plans discussed in this Benefits
Handbook includes, but is not limited to, changes in the eligibility
requirements premiums or other employee payments charged
benefits provided and termination of all or a portion of the coverages '
provided under the benefit plans. lf a benefit plan is amended or
terminated you will be subject to all the changes effective as a result
of such amendment or termination and your rights will be reduced,
terminated. altered or increased accordingiy. as of the effective date ,
of the amendment or tennination.

PUBPDSE GF TH|S SUMMARY

This Health Plan Adminr`stratr`ve lnformatrbn Summary contains
information that applies to all of the plans that comprise the Health
Plan. inducing the l\rledicai Plan, Other lvledical Plan Coverage'
Options. Dental Plan, \Hsion Plan and Health Care FSA Plan. This
Health Plan Adminr°strative lnforrnation Summary provides certain plan
administration information, as wall as information about the Plans'
rights to subrogation and reimbursement your rights to continue
coverage under the Conso|idated Omnibus Budget Reconci|iation Act
of 1985 lCOBHA}, and your rights under EH|SA, including your right to
appeals denied claim under the Health Plan.

Unltodliaald'r Group Banalits i‘landhool: l Emoloyao Hoalli\ Bonoit Flon Seclion l HEALTH PLAN ADMIN|$THATIVE lNFDRMAT|ON SUMMABY 2

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HEALTH PLAN ADM|NIS?RA?WE
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PhnDoscliptiolls

January 1. 2008. exceptas otherwise noted in the Benefits Handbook.

 

PlanYear

Forths Haa|th Plan and each of the cooponent plans, January l through Dacembor 31.

 

Plan Spol\$ol’$ Emp|wor
ldsutiiie¥!iun ||lllllllol' film

UnitadHoalth Broup lncorporated’s federal employer identilication number is XX-XXXXXXX.

 

l"tan Mministratori$ponsor

UnitadHealth Brocp incorporated is the Plan Ad'ninistratcr and Sponsor of the UnitedHeaith
Group Enpioyee Health Benefrt Plan. The Plan Administratorl$pcnscr’s mailing address is:
UnitedHeaith Group |ncerporated
clc Corporate Benefrts Deparunant
MNOOB'BZN
RD. Box 1459
Minneapolis. MN 55440-1¢59

ihs Plan AdministlatorlSpcnsor's street address for courier delivery is:
UnitadHeaith Group lncorporatad
010 Comorate Bensfits Depaitment
MNOOB-BZiB
w an Hoad East
Minnafonira. MN 55343

Trle Plan Administrator,lSponsol’s phone number is:
952-936-13£¢]

 

Agaotfor Sorvice cl legal
Process

 

The agent for service of legal process is tha Oflice of the Daputy General Connsal.
The agent's mailing address is: '

Ofiica of the Deputy Gsnera| Counsal

UnitedHeal!h Broup lncorporated

MNUBB-TZUZ

P.lJ. Box 1459

Minnaapo|is. MN 55440-1459

The agents address for courier delivery is:
Uflica of the Deputy Genera| Counsel
Un'rtadHealth Brcup lncorpcrated
MN[IIB~TBSU
BBUG Brea Road East
Minnatonka, MN 55343

The agent's phone number is:
952-936-1300

Legal process can also be served on the Plan Administrator. UnitedHaa|th Group incorporated
through its Corporate Benefits Dapartment at ice mailing ot courier deiivery addresses

 

United|'lu|th Grcup admits Handhoo|rl Employoa Health Benoit Flan Scr:tion l HEALTi| PLAN ADMIN|STHATIVE INFURMAT!DN SUMMAH‘{ 3

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H£AI.TH PLAN ADMIN|STRATWE
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Plan Type

Plan Nmoltsr
Seuree cf Beneiits

The i-ieaith Plan is a welfare benefit pian. ss defined by ER|SA. and provides group
health benefits which include medicei, dentei, vision end health care flexible spending
account benefits

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The Heaith Pian is self~irrsured{ except ior the benefits wider the Pacifr£are»$ignamreva|ue Pien,
Pacifi&re Signatucevalue Advantege Plan. Giobai Choise Plan and Visiun Plen, which are insumd_

l The Medical Plan, Denra| Plan, Health Dare FSA Flen, Pacific Dentai Benefits Employee Health
Plan iUnion] and UnitedHeeithcere PFCl`of Haweii benefits are paid with the assets of
UnitedHealdr Eroup.

l The Paciiil`,ere Sigrature\iaiue P|en, Pacifr€are SignatureVaiue Advantege Plan and Vision Pien
benefits are paid through insurance coverage that UnitedHeehir Group purchases from its
afi'riiate, PacifiCare of Caiifornia or United liea|thCare insurance Gompany.

l The Giobal Choice Plan benefrts are paid by the insurer, BUPA incentationei.

 

Smm=e of Gomril)utions

UnitedHee|th Group and EiigHie Empioyees share the cost of coverage under the Healrh Plan,
except that only Eiigib|e Employees, and nor UnitedHea|th Group. make pre-tax contributions to
the i~ieaith Care FSA Plan through bi-weeiriy payroll deductions

 

anr|irrgi'l`nrsllilustee

 

The Medieel Plan. Pacitic Dental Benefits Empioyee Hea|th Plan {Union], UnitedHee|thcare PPU of
Hawaii. Dente| Plan and Heaith Cars FSA Plan under tire Hea|th Plan are self-funded by
Unitedl-lea|rh Group from its general assets Thena is no trust '

The Peciii€are Signatureva|ue Plan. PacifiCe:e Signatureva|ue Advantage Plan. Blobe| Ehoice
Plan and \rrsion Plan under the Health Fian are insured es explained in TypaofAdrrinistmtrbn,
Third-PariyAdminr'strators. insurers and Named Ciaim Hdociary in this tab|e.

 

Unimliieaitil Sroup Benems Handbooir l Empioyee Heald\ Beneiit Plan section l HEALTH PLAN ABM|N|STRATWE iNFDRMATiON SUMMAR`\' 4

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Typo nl Administratiol.
Thirtl-|'arty Arilni\islmors,
insurers and Named i.liailn
Fidociary

 

UnitedHealth Groop has connected with certain entiries, some of which are affiliates of
UnitedHeaitlr Groop, for third-party administration sewices or insurance of benefits with
respectto tire Heeith Plan, and has delegated to certain entities rhetiduciary responsibility
for adjudicating claims iincirrding reviewing and deciding appeals of denied ciaimsi that are
made under the i~leaitir Pian, as follows:

l Medieei i’lau. l'aclio ilantei hostile Elrployeo Hea|lir l'ian il|niooi,

lloited|'leaitiroere FP|J of liarrvaii earl lleaitll Caro FSAPian
united Heaith£are lnsrrranco Company |UnitedHearrh`care) is die third-party administrator and
named claim fiduciary ithe Ciaims Adminisbatori for these coverage options
UnitedHeaidrcare's business address end phone number are as foilows:

United |~ieeithCare insurance Company

450 Columbus Bouievard

Hertiord, CT 06115-0450

Phone: 1-800454-0233

l i'ncilicare Signetureiiaino i'iao and hciii¢are Siglaioreilolue Mvantago Plan
PaciiiCare of Califonria ia UnitedHeaithcare company) is the insurer and named claim fiduciary
_ itire Ciaims Adnrirristrator} farthese coverage options PaciiiCare of Ce|ifomia's business
address end phone number ere as foilows:
PasifiCare of Ceiiiornie
5701 Kateiia Avenue
P.U. Box 6006 '
Cypress, CA Nii$il
Phone: 1300-624-8822

s iliohei choice Plan ~
BUPA international is the insurer end named claim fiduciary lthe B|aims Administrator) for this
coverage option. BUFA internationale business address and phone number are as follows:
Giobo| Ciroice
Husseil House. Fiosseil Mews
Brighton, England BN1 ZNR
Phone: +44 id) 1273-773736

 

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Thirri-Ferty Adminisuators.
lnsrrrers and blamed Ciaire
Fidooiery iCentinuetli

l Uerrtai Plan
For employees other than employees who live in Minnesota and certain western
lMscensin cities, Unr`ted HuithCaro insurance Company iUnitedHealiircere] is tire
third-party administrator and named ciaim fiduciary (tire Clairns Admirristratori forthe
Dantai Plan.` UrritedHllithoere's business address and phone dunbar are as follorvs;
United HeeithBare insurance Company
450 Coiumbus Boulevard
Hartford, CT 061150450
Fhone: 1-900-454-0233

For employees who live in Minnesota and tire western Wlsconsin cities of Hum. Prescott,
Biver Faiis, Soion Springs, St Creix Faiis, and Superior,Deita Denial isthe third-party
administrator end named claim fiduciary ithe Ciaims Administretori for the Dente| Pian Deita
Detrtai's business address and phone number are as ioilows:

Delte Dentei

De|ta Uental iJrive

Eegan, MN 55122

Pirone: 1-800-328-1188

n iiisioo Piorr

The lrision Plan is insured. and United l-iealth€are lrrsurance Comparry iUnMdHeaithcerei
is tire insurer aid tire penrod claim fiduciary itlre Claims Adnrinistretor) for review oi
denied claims rmrlerthe Pien. Unitedi-iealthcare's business addnm and phone number are
stated above in this table. '

iinte: These business addresses and phone numbers are the main business numbers for
the various entities. and are net the addresses at which you file claims and mquesis for
appeais of denied olaims, nor the phone numbers for the various customer service centers
from which you can obtain additional information about filing a claim or appeai. Those
addresses and phone numbers are listed in ClaimandAppoals iiocemrres in this Healih
PianAoinim’strao've Infonnatrbn Summary.

 

Where to Senrl Gieirns

Heatl Ciaim andAppeaisHocedurBsinthis HealihPlanAdWirisbatibe!nfomaiionSmmtam

 

Crmtadiorai:opyofi'lan`
Dnournonteeldsi’l)s

UnitedHeaith Broup incorporated
c/o United iiiidirect

i’.D. an 744919

l-iorrston, TX 77274

Phone: 1300-561-0861

 

SlllieefloEBlSA

 

‘r'es. all component plans are subject to EHlSA

 

Unitedl'iuith Gmup Brme'lits Handbooll Empioyle llulih Beneit Plan $esiiorl l |'lEALTH Pl.AN ADM|NISTBA'{|VE lNFDHMATIUN $UMMAH‘{ 6

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ADD|TJONAL lhiFDRMA`i'lON ABOUT THE
HEALTH PLAN

Your HIFAA Privacy iiights

You have certain rights under the Heaith insurance Portabiiity and
Accountabiiity Act of 1996 iH|PAA] with respect to how medical
information about you that is derived from your participation in the
Heaith Pian can be used and disclosed Those rights are explained
fully in the "Notioe of Privacy Practices for UnitedHealth Group's
Employee Heaith Benefit Pians" ithe H|PAA Privacy Noticei.
Empioyees who become employed with Unitedi'leaith Group after
April 2003 receive a copy of the HlPAA Privacy Notice in the
orientation kit that is provided to new employees A|i employees who
were employed with Unitedl-leaith Group prior to Aprii 2003 received
the i-iiPAA Privacy Notice by mail in April 2003. You can aiso read or
obtain a copy of the HiPAA` Privecy Notice by:

rr Acceesing the United Hi=ldirect Knowledge Base via the United
HRdirect Web site either through the Frontier home page or

through https :{lunite_dhrdireg gm m.then selecting "Forms Guides
and Links"; or

§ Caiiing United HFidirect and Speaking to a customer service
representative `

 

¥our iilPAA Security iiights

`i'he federai security regulations enacted under HlPAA require that the
UnitedHeaith Group Employee Heaith Benefit Plan ithe Heaith Plani
safeguard the confidentiality.and ensure the integrity and availabiiity of
your electronic protected health information Protected health
information lPHii is individually identifiable health information related
to your condition, services provided to you, or payments made for
your care. which is created or received by a health pian, a health care
clearinghouse. or a health care provider that electronically transmits
such information Electronio protected heatth information iePHii is
Pi-ii that is maintained or transmitted in electronic iorm. The Hea|th
Plan and Unitedi-leaith Group, the Plan Sponsor. will reasonably and
appropriately safeguard ePl-il that is created, received. maintained or
transmitted to or by Unitediieaith Group on behalf of the l-leaith Plan.

The Health Plan end Unite‘ciHeaith Group are separate and
independent legal entities, which exchange information as needed to
administer your coverage under the Heelth Plan. When receiving
ePHi from the Heeith Plan, UnitedHealth Group agrees that it wiil:

l implement administrative physical, and technical safeguards that
reasonably end appropriately protect the confidentiality, integrity,
and availability of the ePHi that Unitedl-iea|th Group creates.
receives, maintains, or transmits on behalf of the Heaith Plan;

i.lnitodiieeith Group Belroiits Handbooit l Empioyee iieoith Beneiit Pisn Sacdonl HEAi.TH PLAN ADMiNlSTRATl\/E lN¥i]RMATiUN SUMMARY 7
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n Ensure that access to, and use and disclosure of ePHl by the
employees or classes of employees described in this plan document
is supported by reasonable and appropriate security measures;

ll Ensure that any agent including a subcontractor, to whom
UnitedHealth Group provides this information agrees to implement
reasonable and appropriate security measures to protect the
information; and

l Report to the Hea|th Plan any security incident of which
UnitedHea|th Group becomes aware.

Only certain employees of UnitedHealth Group and certain employees
of human capitai outsourcing partners who are under the control of
UnitedI-lealth Group, are permitted to have access to ePHl. 'i'hey
include certain UnitedHealth Group Human Capita| employees. certain
employees of Mercer who perform services for UnitedHealth Group,
and such other persons as UnitedHealth Group deems appropriate
and the minimum number of persons necessary Such employees
may only have access to, and use and disclosel ePHI for purposes of
the plan administration functions UnitedHeaith Group performs for the
Hea|th Pian.

if you beiieve your security rights under H|PAA have been violated
you may file a written complaint at the following address:

tlnitedHeaithcare

Attention: UnitedHeaith Group Empioyee HlPAA Security Complaints
EO. lex 30432

Salt Lake City, Utah 84130-0432

You may also notify the Secretary cf the U.S. Departrnent of Hea|th \
and Human Services of your complaint The Hea|th Plan and
UnitedHealth Group will not take any action against you for filing a
complaint

Note: While UnitedHealth Group and the Hea|th Plan take many
precautions to ensure the privacy of your electronic communication
with UnitedHealth Group and the Health Plan, communication by
email or over the internat cannot be considered secure Un'rteclHeaith
Group and the Health Pian do not accept any responsibility for any
disciosure of personal information that you or someone on your behalf
provides by email or over the |nternet.

 

Suhrogation and Right of Reimbursement

lf you or your covered Eligibie Dependentlsl receive benefits under
the Medica| Plan and Other Medical Plan Coverage Options that result
from an event for which a' third party is or may be |iab|e. you and your
covered Eligible Dependentlsl have certain obligations and the Plan
has certain subrogation and reimbursement rights.

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By enrolling in the Medical Flan or Other Medica| Plan Coverage
Options, you agree to:

lt Notify the Claims Administrator for the Plan in writing oi any potential
or actual third-party liability ciaims that you and/or your covered
Eligible Dependentlsl have or may have;

n Provide any requested information that assists the Plan in pursuing
its subrogation and reimbursement rights as soon as possible, and,
in any event, before you agree to any kind of settlement of your third»
party liability claims or bring a legal action against any other party;

ll Obtain consent from the Plan before you reiease a third party from
liability with respect to an event for which the F'lan paid benefits:

l Cooperete with the Plan to protect and pursue its subrogation and
reimbursement rights;

1 Sign and deliver documents that relate to the Plan’s claims for
subrogation and reimbursement and

n Pay any legal fees that you incur in connection with a claim or
lawsuit against a third party.

The Medica| Plan or Other Medical Pian Coverage Option is entitied to
the following subrogation and reimbursement rights:

l The Plan has a first-priority claim for 100% of the benefits the Plan
has paid, against any "amount" that you may recover. and has the
right to be reimbursed first and immediately from such amounts
before you are entitled to keep them, regardless of whether the
amounts make you whole and represents fuli recovery, or represent
only a partial recovery to you. and regardless of how the amounts are
characterized For this purpose “amount" means any recoveries
settlements or other amounts that you, your covered Eligible
Dependent{s) or your other representatives receive or become
entitled to from any third party that is or may be liable for the event
that resulted in the Pian paying benefits and means the medicei,
dental and other expenses that you and/or your covered Eiigible
D_ependent(s) incur for which the Plan has paid or will pay benefits

l To file an equitable lien, or seek a constructive tmst or other relief
against you. another person or entity for any amounts. to secure its
subrogation and reimbursement rights.

E To make a claim or file a lawsuit in your or your covered E|igibie

' Dependent's name against any pian, person, entity, insurer lfirst
party or third party), or intervene in any action against such persons
to secure its subrogation and reimbursement rights.

Yoer COBRA Continuation Rights

if you and/or your covered Eiigible Dependentisl lose coverage under the
Medica| l"’|anl Other Medical Plan Coverage Options, \hsion Plan, Dental

llnitedliuhh Group Bene'ilts Hantibonlcl Emplcyee Hea|th Benoilt Plan Sectlon l HEAL}`H PLAN ADM|NiSTRATli/E lNFf|FiMATlDN SUMMAHY 9
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Plan and/or the Hea|th Care FSA Plan under certain conditions you may
have the right to continue your coverage at your own expense for a
period of time under the Consolidated Omnibus Budget Fteoonciliation
Act of 1985 lCOBBA).

dualifyr‘ng Events, auafiiied Banefr'cr'arias and Corrrinrrariorr
Perioo' ' '

The following table applies to the lvledica| Plan, Other Medical .Plen
Coverage Options, Dental Plan and Wsion Plan. it lists the events (the
qualifying events} that permit you andfor your covered Eligibie
Dependentls) lthe qualified beneficiariesl to elect COBRA continuation
coverage, and lists the maximum period of time for which you and/or
your covered Eligibie Dependentlsl. as qualified beneficiariesl can

elect continuation coverage when each qualifying event occurs

l'lrla)r turnCOBRA C- inuation Fe `ori n

  

 

   

 

 

 

 

 

 

 

 

 

 

Your work hours are reduced. which results ln loss of 7 18 months 13 months 18 months
coverage
Vour employment ends for any reason other than gross 18 months l 13 months 18 months
misconduct ,
Vou become entitled to Medicara`. Not applicable Not applicable Not applicable
You become entitled to Med"rcero within 18 months Not applicable 36 months** - 36 nwnlils"
before your employment ends or before your work hours
are reduced
You or your covered Eliglble Dapendent becomes 29 months 29 months 29 months

_ eligible for Social Sectrity disability benoits at any
time within the first fill-day period afteryou lose
coverage as a result of your employment termination or
reduction in work hours '
You die Not applicable 36 mondts 36 months
¥ou and your spouse legally separate or divorce.* Not applicable 36 months 36 months
Your child is no longer an Eligible Dependent. Not applicable Not applicable l 3d months

 

 

 

 

' tiyou eliminate coverage for your spouse in anticipation of a divorce or legal separation and a divorce or tagal separation later ocwrs,
then the later divorce or legal separation will be considered a qualifying event even though your ax-spoirse lost coverage earlier lf your
ear-spouse notifies United Hlidirect at 1-800-561-0851 within 80 days of the date of the later divorce or legal separation and can
establishthat the coverage was eliminated earlier in anticipation ofthe divorce or legal separation then COBHA coverage may be
available for the period after the divorce or legal separation

*f SB~monlh period starts on the data you become entitled to Medicare.

Unb¢dl‘|eaitl\ Group Beneflls Handboolt¢ Empioyeo Hea|th Brmefil Plan Section l HEALTH FLAN AlMINISTRATll/E lNFURMAT|DN SUMMABY 1 0

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Speciai Rulas for the Health flare F$A Plan

If you or your covered Eligible Dependent loses coverage because

cf a qualifying event, any one or more of you can elect to continue
coverage under the Health Care FSA Plan until the end of the year in
which the qualifying event cccurs.

floating BGBRA after Leave under the family and Madica!
Leave Acz (FM!.A}\

Special COBHA rules apply if you take an FMLA leave and do not
return to work with unitedHealth Grcup. lf you are covered by the
Medical Plan, Ocher lvledicai Plan Coverage Options, Dental Plan,
Vision Plan cr Health Care FSA Plan on the day before your FMLA
leave begins, you and any covered Eligible Dependents are eligible for
COBRA even if you do not continue coverage during your FMLA
leave. Further, your COBRA continuation coverage'pericd begins on
the earlier of the last day of your FlvlLA leave or the day you
unequivocally advise UnitedHealth Group that you dc not intend to
return to work.

lliotif:'carion of CGBHA Continua£icn Coverage Election

When the qualifying event isyour reduction cf hours cr the end of
your employment cr your death, the Health Plan will offer COBHA
coverage to you and to your qualified beneficiaries, if any. You do not
need to notify UnitedHeaith Group of any of these qualifying events.

 

 

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United HRdirect will send a COBRA Ccntinuation Coverage Election
Notice i" COBRA Eiection Notice") and a COBRA Continuation
Coverage Eiection Fonn i"CGBRA E|ection Form") at the time of a

' qualifying event provided that timely notice has been received Eachv
qualified beneficiary will have an independent right to eiect COBRA
continuation coverage Eligib|e Emplcyees losing coverage may elect
COBRA continuation coverage on behalf of their spouses/domestic
partnere, and parents may elect COBF|A continuation coverage on
behalf of their covered children

Fcr each qualified beneficiary who timely elects COBRA continuation '
coverage. COBHA continuation coverage will begin on the day
immediately following the qualifying event.

 

 

length of COBRA Cen'tinuation Coverage

COBRA continuation coverage is a temporary continuation of
coverage _See the chart in Ouafifying Events, Qua!ified Benenciaries
and Contr'nuation Period in this Heaith Plan Administrative information
Summary for maximum COBRA continuation periods for the various
qualifying events.

if the maximum COBRA continuation period is 18 months. there are
two ways in which the 18-month period of COBFiA continuation
coverage can be extended

l Disability extension of 18-month period of continuation
coverage

if you or anyone in your family who isa qualified beneficiary
covered under the Hea|th _Plan is determined by the Sccia|
Security Administration to be disabled and you notify UHCDirectBill
at 1-866-214»2981 in a timely fashion, you and your qualified
beneficiaries may be entitled to receive up to an additional

11 months of COBRA continuation coverage. for a total maximum
of 29 months. The disability would have to have started at some
time before the Sist day after your termination of employment

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or reduction in hours and must last at least until the end of the
18-month period of COBRA continuation coverage. Each qualified
beneficiary will be entitled to the disability extension if one of -
them qualifies

You must notify UHCDirectBi|| at 1-866-214~2981 of the Socia|
Secun'ty Administration's determination within 60 days after the latest
Of: l ` '

- The date of the Social Security Administration's disability
determination;

- The date of your termination of employment or reduction in
hours; and

-- The date on which the qualified beneficiary loses (or would lose}
coverage under the terms of the Heaith Plan as a result of your
termination of employment or reduction of hours.

` You must also provide this notice Within 18 months after your
termination of employment or reduction of hours in order to be
entitled to a disability extension if no notice ls given within the
required panod. then there wiii ve no disability mansion er
OQBRA continuation coverage

l Second quaiifying event extension of 18-i'nonth period of
continuation coverage

if your qualified beneficiaries experience another qualifying event
while receiving 18 or 29 months of COBRA continuation coverage,
the spouse/domestic partner and dependent children who are
qualified beneficiaries can receive up to a maximum of 36 months
iinciuding the initial iB-month period), if notice of the second
qualifying event is properly given to UnitedHealth Group by catiing
UHCDirectBil| at 1~866-21¢2981. This extension may be available to
your spouse/domestic partner and dependent children who are
qualified beneficiaries if you die. get divorced or legally separated.
or if a dependent child who is a qualified beneficiary stops being
eligible under the Plan as a dependent child. in all cf these cases,
the extension is available only if the event would have caused your
spouse/domestic partner or dependent chiid to lose coverage under
the terms of the Heaith Plan had the first qualifying event not
occurred. You must contact UHCDirectBil| within 60 days of the
second qualifying event lf no notice is given within the required
BO-day period, your spouse/domestic partner and dependent
children will not receive the extension of COBRA continuation
coveraga.

 

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Special Cansiderafians in Decidiog Whetfrer to fleet CUBHA

if you experience a qualifying event in considering whether to elect
COBRA continuation coverage, you should take into account that a
failure to continue your group health coverage will affect your future
rights under federal law. First, you can lose the right to avoid having
pre-existing condition exclusions applied to you by other group health
plans if you have more than a 63-day gap in health coverage, and
election of COBRA continuation coverage may help you not have such
a gap. Seconcl, you will lose the guaranteed right to purchase
individual health insurance policies that do not impose such pre-
existing condition exclusions if you do not elect and remain covered
under COBHA continuation coverage for the maximum time available
to you. Fina||y, you should take into account that you have special
enrollment rights under federal law. You have the right to request
special enrollment in another group health plan for which you are
otherwise eligible lsuch as a plan sponsored by your spouse's
employed within 30 days after your group health coverage ends
because of a qualifying event. You will also have the some special
enrollment right at the end of COBRA continuation coverage if you
remain covered under COBRA continuation coverage for the
maximum time available to you.

 

lf you and any other qualified beneficiaries are otherwise eligible for
UnitedHcalth Group"s Post~Employment Medlcal Plan lthe PEM Plan),
you must timely elect. and exhaust, COBRA continuation coverage to
be able to enroll in the PEM Plan. lf you do not elect and exhaust
COBRA continuation coverage. you will not be eligible for the PEM
Plan. if you are eligible for the PEN| Plan. you will receive additional
information at the time of your termination .

C'ost of CGBBA Eonrinuation Coverage

Each qualihed beneficiary will be required to pay the entire cost of
COBFlA continuation coverage The amount a qualified beneficiary will
be required to pay may not exceed 102 percent of the cost to the
group health plan llncluding both employer and employee
contributionsl for coverage of a similarly situated plan participant or
beneficiary whole not receiving COBRA continuation coverage

lf you are eligible for an ‘ll-month extension of continuation coverage
due to disability you will be required to pay 150 percent of the
otherwise applicable cost during such 11-month extension period.

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Payment for EBBRA £oniinuation Co verage
s First payment for COBRA continuation coverage

lf you elect COBRA continuation coverage, you do not have to send
any payment with the "COBRA Election Fomn." However. you must
make your first payment for COBRA continuation coverage not later
than 45 days after the date of your election.

if you do not make your first payment for GOSRA continuation
coverage in full no later than 45 days after the date of your
election, you will lose all COBRA continuation coverage rights
under the Hea|th Plan. ‘r‘ou are responsible for making sure that
the amount cf your first payment is correct:.

tour first payment for COBRA continuation coverage should be sent to: `

UHCDirect_Bill

EO. Box 224708
lJallas,TX 75222
Phone: 1-8664214»2981

l Periodie payments for COBRA continuation coverago.

After you make your first payment for COBRA continuation
coverage you wm be required to make monthly payments for each
subsequent month of coverage Under the Plan. these monthly
payments for COBFlA continuation coverage are due on the first of
each month. lf you make a payment on or before the first clay of
the month to which lt applies, your coverage under the Hea|th Plan
will continue for that month without any break. The Hea|th Plan will
not send periodic notices of payments due each month. Month|y
payments for COBRA continuation coverage should be sent to:

UHCDirectBi|l

Premium Payment Processing Center
RO. Box14253

Orange. CA 92863-1253

Phone: 1-866-747-0048

l Glace periods for periodic payments

 

A|though monthly payments are due on the first of each month, you
will be given a grace period of 30 days after the first day of the
month to make each periodic payment Your COBRA continuation
coverage wi|lbe provided for each month as long as payment for that
month is made before the end of the grace period for that payment

lfyoufaiitomakoa periodicpaymentbeforetheend ofthe
gmceperiodforthatmonth,youwill mailightetoOOBRA
continuation coverage under the Plan. |f COBRA continuation
coverage is cancelled for nonpayment coverage will not be reinstated
and you will have no further rights to COBRA continuation coverage

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Errr:i of tire Maximrrm soverage Period

COBRA continuation coverage will be tenninated before the end of
the maximum coverage period if:

I Any required premium is not paid on time;

l' After electing COBRA continuation coverage a qualified beneficiary
becomes covered under another group health plan that does not
impose any pre-existing condition exclusion for a pre-existing
condition of the qualified beneficiary;

l After electing COBRA continuation coverage a qualified beneficiary
becomes entitled to Medicare; or

s The Company ceases to provide any group health plan for its
employees

COBRA continuation coverage may also be terminated for any reason
the Plan would terminate coverage cf a participant or beneficiary not
receiving COBFlA continuation coverage such as fraud COBRA
continuation coverage may also be terminated if you or a qualified
beneficiary recovers from a disability that extended your COBRA
continuation coverage |f you cr a qualified beneficiary become
covered under another group health plan. entitled to Medicare. or
recover from a disability you must immediately notify UHCDirectBi|l
at 1~866-214»2981. '

a Special "lirade Act“' Rai‘es Corrcerrrirrg farr Eredit for CDBRA
Contiuuafi'on Coverage

The Trade Act of 2002 created a new tax credit for certain individuals
who become eligible for trade adjustment assistance and for certain
retired employees who are receiving pension payments from the ~
Pension Benefit Guaranty Corporation (PBGC) lEligible lndividuals).
Under the new tax provisions, E|igh:r|e individuals can either take a
tax credit or get advance payment of 65% of premiums paid for
qualified health insurance including continuation coverage If you
have questions about these new tax provisions, you may call the
Hea|th Coverage Tax Credit Customer Contact Center toll-free at
1-866-628-4282. '|'fD/'I'IY callers may call toll~free at 1-866-626-4232.
More information about the Trade Act is available at Mgg,

Keep i'orrr Plan informed ofAddress L‘!rarrges

in order to protect your and your famiiys rights, you should keep
UnitedHealth Group informed of any changes in your address and
die addresses of family members You should also keep a copy, for
your records, of any notices you send in connection with COBRA
continuation coverage

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Chaogirrg Ycur Coverage Durr'rrg Your continuation Pcried'

if you or a qualified beneficiary elect COBRA, you or the qualified
beneficiary may change your coverage elections during the annual
Open Enroiiment Period and/or in the event of a special enrollment
event, such as the birth of a child or marriage See the Benefrts
Overview Sectl'on for more information on speciai enrollment events.

Certiiieate of Creriitabie Coverage

Upon request, the Medicai Pian or other Medical Plan Coverage
Options will provide a certificate of creditable coverage as long the
request is made while you or your Eligible Dependent is covered or
within 24 months after coverage terminates. lite request can also be
made by someone else on behalf of you or your Eligible Dependent.
For example you may authorize a new pian in which you enroll to

' . request acertil"rcate of creditable coverage relating to prior coverage
under the Medicai Plan or Other iviedica| Plan Coverage Options- You
or your Eligibie Dependents are entitled to receive a certificate of
creditable coverage upon request even if the Niedica| Plan or Other
Medical Plan Coverage Options have previously provided a certificate
of creditable coverage

 

Procedures to lie quest a Certificate of
Creditable Covetage

Contact the Ciaims Administrator to request a certificate of creditable
coverage .

The request must include the following information:

l The name of the individual for whom the certificate of creditable
coverage is requested;

ll The last day that the individual was covered under the Medical Plan;

l The name of the participant that enrolled the individual in the Nledicai
Plan;

l The name of the person making the request and. if applicable
evidence of authoritth request and receive the certificate of
creditable coverage on behalf of another individuai;

n The address to which the certificate of creditabie.coverage should be
sent; and

lt The requester's signature

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CLAIM ANB APPEALS P~ROCEBURES

introduction

|f you participate in the Medical Plan. Other Medical Plan Covarage
Options, Dental Plan. Vision Plan and/or Health Care FSA Plan. you
have rights under EFllSA to bring a claim for benefits and to appeal a
denial of your claim for benefits The Summary for each of the Piens
explains how to file a claim for benefits This section provides additional
information about making a claim-for benefits under each of the Plans,
and describes your appeal rights if your claim for benefits is denied. lt
also explains the deadlines by which you must bring a claim or file an
appeal of a denied claim, the Claims Administrators' deadlines for
responding to your appeal, and your right to pursue litigation if you are
dissatisfied with the applicable plan‘s final decision on your claim. You
must follow and complete the claim and appeals procedures before you
can bring a lawsuit and you must comply with the deadline to sue.

 

Status et the Claims At|ministrator as a Fiduciary

The Claims Administrator for each Plan is a fiduciary with respect to
the applicable Plan. `lhis means that the Claims Administrator has the
exclusive right and discretion, with respect to claims and appeals, to
interpret the applicable Plan’s terms. to administer the Plan’s benefits
to determine the applicable facts and law, and to apply the Plan‘s
terms to the facts. The Claims Administrator‘s decisions are
conciusive and binding.

Your Deadiine to Fils` a Blaim

You must bring a claim for benefits within one year after the date you
know or reasonably should know the principal facts upon which your
claim is based. This mie applies to all claims unless the individual plan
Summary leach as the Health Care Flexible Spending Account Plan
Summary) provides a different deadline. |f you file a claim after this
deadline, it will be denied automatically

Claims for Banefits- Under the Hea|th Plan

Types cf Cfaims

You may make three different types of claims for benefits under the
Hea|th Pian. They inciude the fcllowing:

l Pra-sewioe claim. A request for a benefit where the Nledical Plan’s
terms require notification or authorization before you can receive
medical care. The Nledical Plan and Otl‘ler Nledical Plan Coverage
Options are the only plans that require notification or authorization;
therefore, they have pre-service claims

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n Urgent care claim. A pre~service claim under the Medicai Plan or
Other Medical Plan Coverage Optlons for which the time period
permitted for determining a pre-service claim could seriously
jeopardize your life or health. your ability to regain maximum
function, or, in the opinion of a Physician with knowledge of your
medical oondition. would subject you to severe pain that cannot be
adequately managed without the care or treatment that is the
subject of the claim. The Claims Administrator will determine
whether a pre-service claim involves urgent care. except that if a
Physician with knowledge of your medical condition determines that
a claim involves urgent care, the Claims Administrator will treat the
claim as an urgent care claim.

n nest-service elaim. Any ciaim for benefits for services that have
already been provided Post-service claims are all claims that are
not a pre-service claim or an urgent care ciaim. All claims under
the Dental Plan. Vision Plan and Health Care FSA Plan, and many
claims under the Medical Plan and Other Medical Plan Coverage
Optionsr ere post-service claims. `

 

flow to Fiie a Pre-$eryice C!aim Under the Medical Plan

When you seek care under the Medical Plan or Other Medical Plan
Coyerage Options from a Network Provider, the Provider will file a pre-
service claim if prior notification or authorization is required by the
Plan. lf you need to bring a pre-service claim for care from a Non-
Network Provider, you can tile your claim by calling the Claims
Adrninistrator for the Medical Plan or Other Medical Plan Coverage
Options at the Membsr Services number lor the Menta| Health
Services number) on the back of your medical lD card.

flow to Fiie an Urganr Care Claim Under die Medical Plan

When you seek urgent care under the Medical Plan or Other Medical
' Plan Coyerage Options from a Network Provider, the Provider witt file
the claim. 'lf you are bringing the claim yourself, call the Claims
Adrninistrator for the Medical Plan or Other Medical Plan Coverage
Options at the Member Services number lor the Menta| Hea|th
Services number) on the back of your medical iD card as soon as
possible \"ou do not need to file an urgent care claim in writing.

dow to Fr'l‘e a_Posr-$ervice Clar'm Under AH of tire
Campcoent Plans

The Filing a Ciaim for Benefr'ts explanation in the Summary for each of
the Medical Plan. Other Medical Plan Coverage Options, Dental Plan.
\flsion Plan and Heaith Care FSA Plan explains how you or your
Network Frovider files a post-service claim for benefits

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- _ Benelit Pia`n

Mere to Fr'le a Clar'nr

The following table lists the addresses at which you file a claim under
each of the Plans. The addresses may change at any time.

Wiroorto Cail for

Atldross for Filing Ciailns

 

llss the address that` rs listed on the back of your lD card which rs

More information

 

 

 

 

 

l Medical Plan
g Pacmc nmi sums differentfor some locations
fmcloyee Hea|th Plan The address for ampioyees in most locations is: 1-300-3$-|371
[Unionl 4 Unitedl-lealthcare
l Uniteclflealthcare PPO Attn: l.lnitedHealth Group Ernployee Claims
of Hawaii P.U. Box 740800
Atlanta, GA 30374-0800
The address for employees in Minnasota and other areas that are in 1-600-357-1371
the Madill network ls:
Medica
F.O. Box 30931
Sa|t Lake City, UT 84130
l PacifiCare Signaturellalue `|he address for arnle covered under the PaciiiCare 1-£77-205~8035
Plan Signaturevalue Plan and Facifrf!ars Signawrevalus` Advantage Plan is:
l F’ar:ifiCaro SignamreVa|ue PacifiCare of Califomia
Advantage Plan Claims flepartment
P.O. Box 8006
Cypress. CA 80630-6006
ll Global Choice Plan The address for employees covered under the G|oba| Choice Plan is: +44{0) 1273-773736
Glohal Ehoice
fiussall House, Russell Maws
Brighton, Eng|and BNl ZNB
Dantal Plan
- Unitodl'laalmcare Derrlal Unitedl-loalthcare Dental 1-800-357-1371
lfor employees in locations Attm Uniledl~lealth@roup Employee Clairos
other than Minnesota and P.O. Box 30567
certain Wlsconsin oitiss] Salt take City. UT 84130-0567
l Delfa Delilal lonly for Dslta Dental 1-80€|-448-3815
airplanes in Minnewla and P.U. Box 59238
certain Wlooonsin cidesl Minneapolis, MN 55458-0238\
Vision Plan Spectera Claims Department 1-500-357-1371
Attn: llnitedl-iealth Broup Emp|oyaa Claims
P.O. Box 26618
Baltimore, MlJ 21207-6618
Health Care FSA Plan UnitedHealthcare Flexible Spending Accomt Unit 1-877-311-7849

 

Attn: UnitedHealth Gmup Emp|oyee Claims
P.O. Box 981178
H Paso, 'i`X 79998-1178

 

 

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The claims Admirrr'strarer's Der:isr'on orr Your claim

The Claims Administrator will respond in writing (delivered in paper form
or electronically) to all Medical Plan or Other Medical Plan Coverage
Options pre-service and urgent care claims. Whether the claim is
granted or denied. The C|aims Administrator can initially respond to en
urgent care claim verbally, but must follow it with a written response
within 72 hours or three calendar days.

The Clainns Administrator will also notify you in writing ldeiivered' rn
paper form or electronically) if your claim under an applicable pian' is
denied. Any denia|, reduction or termination of benefits or failure to
provide or make payment lin whole or in part) for a benefit is a claim
denial. The written claim denial will include the reason for the denia|.
reference to the relevant plan provisionls) on which the denial is
based and other information that is required by federal regulation.

Timing of Claim Decisions and Appeals

The fottowing table lists the time periods within which the Clairns
Administrator must respond to your claim for benefits and your
appeal of a denied claim. as well as your deadlines for taking _
action to complete a claim and file an appeal of a denied claim.

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` _ 'Vr_Tirriing oi"Act-ia'ri or'Respunsc l

 

 

 

 

if your claim is incompieiii, disclaims Aiiiiiiiiscaioi

must notify you within:

You must then provide completed claim‘information 48 hours after 45 days after reoeiv`mg an extension notice` .3

to the Ciaims Administrator within: receiving rir.itir:e.z

If your initial claim is denied the Clairns

Administrator must notify you of the denial:

l When the initial daim is completa, witliin: 72 huars. 15 days. 30 days

ll Aftar receiving the completed claim lwhan the 48 hoors. 30 days.‘ 45 days.‘

initial claim is incompletel, within: - ,

`i'eu must appeal the claim denial ne latartlierr. 130 days after Wivi"il ih€ dimia|-

The Claims Adminisuator must notify you of the 72 hours after 15 days after receiving 30 days after receiving

appeal d@CiSif-"\Z ` receiving the appeal die appeal (ifthera the appeal lif there

' are twa levels of are two levels of

appeal]. 30 days after appeal). 60 days after
receiving the appeal [if receiving tha camel lif
tharaisone|evaloi diaraisonaleva|of
eppeallt5 appea|).*

 

 

 

 

‘ \'ou do not need to submit urgent care claim apwals in writing. ‘i'ou should call the Claims Administrator as soon as possible to appeal
an urgent care ciairn.

1 lf the Claims Administrator requests additional information from you. you must provide it within 48 hours ot the B|aims Administrator's
request timing this time. the initial claim determination period witt ha suspended

‘ The B|eirns Administrator may require a one-time extension of up _to 15 days. if more time is needed due to circumstances beyond the
Claims Administrator's control

‘ Thesa time frames assume that the Claims Administrator gives notice _oi the need for en extension during the initial iii-day period for
pre-service claims and tire initial ED-day period for post~service claims

‘ _Sema ofthe Medical Plan and Other Medical Plan Covereoe Options provide for two levels of appea|. ifyou are notsatistied with the
decision on your first-level appaal, you have the right tie redeem a second-level appeal from the CiaimsAdninistrator and must do so
within 60 days afmr you receive the decision on your first-ieve| appeal. The Ciairns Ackninistrartor nuist notify you of its decision within
15 days after receiving your appeal of the denial of a pra-service ciairn, and within 30 days after receiving your appeal di the denial ct
a post-service claim. Your initial appeal denial will inform you if a second-level appeal is available

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You may voluntarily agree to extend these time frames lo addition,

if the C|aims Administrator is enable to decide a pre-service or post-
service claim within the time frames specified in the table because of
matters beyond its oontro|, these time frames may be extended for up
to 15 days. The Claims Adminlstrator will notify you in writing before
the original deadline expires if an extension is necessary The notice
will state why the extension is needed and the date by which the
Claims Administrator expects to make a decision Deoisions on

urgent care claims cannot be extended

Appea|s of Denied L‘.laims

if your claim is denied. you can appeal the denial Upon written
request and free of charge, you have the right to reasonable access to
and copies of all documents records and other information relevant to
the denial of your o|alm. You also have rights to see any internal rule,
guideline, protocol or other similar criterion relied on in making the
claim denial and an explanation of any scientific or clinical judgment for
the determination To ask for copies of this informationl contact the
Claims Administrator for the applicable plan.

The following table lists the addresses at which you may file a written

 

appeal of a denied claim under each of the Plans.

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c Mediw| Plan _1~81]0-357-1371
l PHGiFiG 98le B€H€f'rl$ Embiflveil Ath UnitedHearth Group Emp|oyee Appeals
Hea|th Pian (Union) P.O. Box30432
n UnitedHea¥thcare FPD of Hawaii Sa|t Laka City. UT BMSDMZZ_
l PacifiCare Signatureva|ua Pfan Pacifr€are of Ca|ifomia 1»8?7-265-8035
l PacifiCara Signamreva|uo Appaa|s and Griavanca Department
Advantage Plan Mail Stop 0¥44»157
un¢ludas Mema\ Haa\wsubsrame 5757 P'am D""“
Abuse Claims for these Plansl p'O' B°x ems
Cypress. CA 90630
n signal choice man Global choice +44 fm 1273”3735
Bussel| House, Husse|| Mews
Brighton. Engiand BN‘| ZNH ‘ `
g Menwluearm/smswme Ahuse united Bahaviorameanh 1309~357'13"
Claims(butnotforempfwaes Atm: UnitedHealth Group Emp|oyee'Appaals
who work for UBH/mem/Life£ra} P.G. Box 32040
' Dak|and, CA 94604
- MemacHe¢m:/suvsme Avusa united seminolan 1MM7~13?'
Ciairns(only{orl]ptlrn Emp!oyeas Attn: Conidential Appaa|s
who\md<for UBHIOmum/LifeEra| Mai| Ftouto CA035-1505
425 Markst 811th
San Francisuo, CA 94105
o Denta| Plan
-- UnitedHea|'tlmre Dental UnitadHealtlmare Dantal 1'3“““357‘1371
lfor employees in locations Atm: UnitadHealth Group Employas Appea|s
other than Minnesota and P.O. Box 30569
corwin Wlsconsin oities| Salt lake Bity, UT 84130-0569
-oena neml\onzym osha ama 1300443~3915
Minnesota and csnain P.O. Box 59238
\Msconsin employees| Minnaapo|is, MN 55459-02$
l Vlsion Plan 7 Spectera/UHS Vision Appeals C|aims Dept. 1’890'357'1 371
P.O. Box ZEB1B
Ba|timora. MD 21207£618
. Heanh care FsA Plan unitedneawmre news spemingA¢¢oummr 1'377~3'1'7849
Attn: UnitedHea|th Group Emp|oyea Appeals
P.G. Box 981173
El Paso. TX 79998-1178

 

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your Daadlina to Fi'l’e an Appeai

You must tile an appeal within 180 days after you receive the claim
denial from the Claims Adminisu'ator. ll you file an appeal after the
deadline, it will be denied automatically.

How ila File an Appeal

You or your authorized representative including a Provider. can appeal
the denial of your pre-service and post-service claims You file the
appeal with the Claims Administrator for the applicable plan at the
address listed in the Where to Frle an Appeal of a Denied Clai'm table
in this Hea!th Plan Admi'ni°strati‘ve !nfonnation Summery. Your appeal
of a pre-service or post-service claim must be in writing and includes

 

l ¥our name;
ll Your subscriber identification number;

o The claim document number listed on the Explanation of Benefits,
if available;

l The patient's name and the identification number from your lD card,
if anv:

o The Prov_ider's name. address and telephone number,

§ `lhe reason you believe the claim should be paid or coverage should
be provided; and 7

l Any documentation or other written information to support your claim.

lf you are appealing the deniai of an urgent care claim under the
Medical Plan,_vou do not need to submit your appeal in writing. You or
your Physician should call the Claims Adrninistrator as soon as possible

~Appeal Frocess

A qualified individual who was not involved in the claim denial will
decide your appeal. and will not defer to the initial decision on your
claim for benefits lt review of your appeal requires clinical judgment
the Claims Administrator will consult a health care professional who
has appropriate expertise in the field and who was not involved in the
prior decision The Claims Administrator may consult with, or seek
the participation of, medical experts as part of the appeal resolution
process. end may share pertinent medical claim information with the
medical expert.

|n deciding the appeal, the Claims Administrator will take into account
all comments, documents, records, and other information submitted
to support the appeal without regard to whether the information was
submitted in connection with the claim for benefits

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Baadfines for Dec:‘di'ng Appeais

The Claims Administrator must decide and respond to your properly
submitted and complete appeal within a reasonable time, and no later
than the following time periods:

ll For pre-service claims:` Within 15 days of receipt of the appeal lif
there are two levels of appea|) or within 30 days of receipt of the
appeal lif there_is one level of appeai};

l For post-service claims: Within 30 days of receipt of the appeal lif ‘
there are two levels of appeall or within 60 days of receipt of the
appeal lif there is one level of appeai}; and

l For urgent care claims: As soon as possible, taking into account
the medical situation. but no later than within 72 hours of receipt
of the appeal.

These deadlines are also listed in Tnn`ng of Claim Deci°sions and
Appeais in this Health Flan Admini'strati've lnformati'on Summary.

lt your Medical Plan or Other Medical Plan Coverage Option has two
levels of appeal and if you are not satisfied with the decision on your
lirst-level appeal of a pre-service or post-service claim, you have the
right to request a second-level appeal from the Claims Administrator.
You must submit your second-level appeal in writing within 60 days
after you receive the Claims Administrator' s decision on your first-level
appeal. The Claims Administrator will decide the second appeal in the
same time frame as the first appeal. `

 

The Claims Administratur's Dcci'sion ca !'our Appeai

The Claims Administrator will respond in writing (de|ivered by paper

or electronicaiiyl to all eppeals. if your appeal is denied, the written
denial will include the reason for the denial, reference to the relevant
Plan provision(s) on which the denial is based and other information
that is required by federal regulation if your appeal is denied. upon
written requestl you have the right to reasonable access to and copies
of, tree of charge, all documentsl records and other information
relevant to the denial of your appeal.

your Bemedy if l’onr Claim and Appaals line Denied

if your claim for benefits and your appeals are denied. your sole
remedy under the Plan is to bring an action under ERlSA Section
502la) to recover any benefits you think the applicable plan owes
to you. You can sue either iri a federal district court or in a state
court of competent iurisdiction.

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Ycur Daadline to Erin§ a lie iii/suit

lf you file your claim within the required time and complete the entire
claim and appeals procedure, you must commence any lawsuit within
six months after the claim and appeals procedure is complete ln all
avents, you must commence the lawsuit within 30 months after the

~ date you know or reasonably should know the principal facts upon
which your claim is based. lf, however, you participate in one of the
insured health benefits, the deadline in the insurance policy iif any)
win apply instead or this deadiine.

Exfratrsrr'nn of Claim and Appeais Procedir_re

Compieting the claim and appeals procedure is mandatory for resolving
every claim and dispute arising under the Hea|th Plan. in any legal
action brought after you have exhausted the claim and appeals
procedure all determinations made by the Claims Administrator will be
afforded the maximum deference permitted by |aw.

YOUR RIGH`FS UNDER ERISA

if you are enrolied in any of the component plans that comprise the
Hea|th Plan. you have certain rights under the Ernployee Retirernent
lncome Security Act of 1974 (ER|SA), which include the following:

 

0htain information About Your Plan and
Benefits ‘ y

You have the right to certain information about the Plans and your
benefits under them, including the right to:

l Examine. without charge, at the Plan Administrator's main business
office and at other specified locations. such as worksites and union
halls. certain documents governing the Plan. including the
applicabte plan document and summary plan description any
insurance contracts any collective bargaining agreements and a
copy of the latest annual report ("Form 5500 Series"l for the Hea|th
Plan that the Plan files with the U.S. Depaitrnent of Labor and
which is available at the Public Disclosure Ftoom of the Employee
Benefits Secur`rty Administration; '

- l Obtain, upon written request to the Plan Administrator (through
United HRdirec'd. certain documents governing the Planl including
the applicable plan documentr any insurance contractsl any
collective bargaining agreements and a copy of the latest annual
report ("Form 5500 Series”l for the Hea|th Plan that the Plan files
with the U.S. Department of Labor. The Plan Administrator may
charge a reasonable fee for the copies;

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Case 8:11-CV-01331-DOC-»* Document 1 Filed 09/01/11 Pe.¢ll of 46 Page llj”i¢:lll

l Request and receive a copy of the UnitedHealth Group Benefits
Handbook. You can request one from the Benefrts Handbook horne
page in the United i~leirect Knowledge Base, or by calling United
HRdirect at 1-800-561-0861; and

l Fieceive a summary of the Plan’s annual financial report. The Plan
Administrator is required by law to furnish each participant with a
copy of this summary annual report.

Prude-nt Actinas by Plan Fiiiuciariesl

in addition to creating rights for Plan participants ERISA imposes
duties upon the people who are responsible for the operation of

the employee benefit pian. The Plan Administrator. the insurers the
Claims Administrators and the trustee are all fiduciaries of the Pians.
and have a duty to administer them prudently and in your interest and
that of any other participants and beneficiaries

' Enforce 'Your iiights

if your claim for a Plan benefit is denied or ignored, in whole or in
part you have the right to know why this was done. to obtain copies
of documents relating to the decision without charge, and to appeal
any deniai, ail_ within certain time schedules No one, including your
employerr your union (if applicabie) or any other person, may fire you
or otherwise discriminate against you in any way to prevent you from
obtaining a plan benefit or exercising your rights under EFllSA.

Under ERISA, you can take steps to enforce these rights as follows:

o if you request a copy of plan documents or the latest annual report
from the Plan and do not receive them within 301 days, you may file
suit in a federai court. in such a case, the court may require the Plan
Adrninistrator to provide the materials and pay you up to $110 a day
untii you receive the materials, unless the materials were not sent
because of reasons beyond the control of the Plan Administrator.

l if you have a claim for benefits that is denied or ignored, in whole
or in part, you may file suit in a state or federal court

l ln addition, if you disagree with the Plan’s decision or lack thereof
concerning the qualihed status of a medical child support order. you
may file suit in a federal couit.

l if a Plan fiduciary misuses the applicable plan‘s money, or if you _
are discriminated against for asserting your rights. you may seek
assistance from the l_.i.S. Department of Labor, or you may file a `
lawsuit in a federal court. The court will decide who should pay
court costs and legal fees. if you are successfui. the court may
order the person you have sued to pay the costs and fees. if you
iose, the court may order you to pay the costs and fees, for
example, if it finds your claim to be frivolous

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Case 8:11-cv-01331-DOC-% Document 1 Filed 09/01/11 Pe.42 of 46 Page lli}°l¢:112

 

   

~ ` Cln tc'i\ie)<t:,;”$ecii_cn , '_

tinitcdliiialir Sroup Benefits liandbooiil Employee iiaiiitit Benotit Plan Sectlon - HEALTH PLAN ADMiN|STBA`fiVE iNFUiiMATiDN SUMMAB\' 29 '

Ccntinus Grcup Heaitii Plan Govcrage

You have the right to continue health care coverage for yourself,
spouse or dependents ii there is a loss of coverage under the Hea|th
Plan as a result of a qualifying event. You or your dependent may have
to pay for such coverage Fteview this Benefits Handbook regarding
the rules governing your COBFtA continuation coverage rights.

You have the right to reduction or elimination of exclusionary periods
of coverage for preexisting conditions under your group health plan iif
applicablei, if you have creditable coverage from another pian. You
should be provided with a certificate of creditable coverage free of
charge. from your group health plan when you lose coverage under
the planl when you become entitled to elect COBRA continuation
coverage .when your COBRA continuation coverage ceases, if you
request it before losing coverage or if you request it up to 24 months
after losing coverage Without evidence of creditable coverage you
may be subject to a preexisting condition exclusion for 12 months ita
months for late enrolleesl after your enrollment date in your coverage

€overa'ge Under USEBRA

if you lose coverage because you take a qualified military leave of
absencer you and!or your Eiigible Dependents will be entitled to
protection under either COBHA or tire tiniformed Services
Employment and Reempioyment Fiights Act iUSERHAi. When the
requirements ci COBHA and USERRA differ, you will receive
protection under the law that gives you the greater benefit Coverage
under COBRA and USEHRA runs concurrently For example you
cannot elect COBFlA continuation coverage after receiving USERRA
continuation coverage for the maximum coverage period. USEHRA
currently provides a maximum coverage period of 24 months. lf you
believe USERFiA may apply to you. you may contact United HRdirect
at 1-890-561-0861.

Assistance with `{our directions

For answers to questions about the Plans. you should contact the
Plan Administrator. if you have any questions about this statement cr
about your rights under ER|SAl or if you need assistance in obtaining
documents from the Plan Administrator. you should contact the
nearest office cf the Employee Benefits Security Administration, U.S.
Department of l_abor, listed in your telephone directory ortho Division
of Technicai Assistarice and inquiries Employee Benefits Security
Administration, U.S. Department of Labor. 200 Const`rtution Avenue
N.W., Washington, D.C. 20210.

You may also obtain certain publications about your rights and
responsibilities under ERISA by calling the publications bodine of
the Employee Benefits Security Administration at 1-866-444~3272.

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Case 8:11-CV-01331-DOC- Documentl Filed 09/01/11 P

UNITED STATES DISTRICT COURT, CENTRAL DISTRICT OF CALIFORNIA

CIVIL COVER

Sl'lE ET

3643 of 46 Page lD #:113

 

[ (a) PLAJNTIFFS (Ch€i'k box if you are representing yourself |:|)

UNITEDHIEALTH GROUP EMPI.OYEE HEALTH BENEI-`[T PLAN

DEFEN'DANTS

DA`VID SANDHU; STEVEN C. EGGLESTON DBA LAW OFFICES OF
S'I"EVEN C1 EGGLESTON; and DOES 1 through 20, inclusive

 

(h) Attomeys (Firm blamel Addrcss and Telaphone Number_ If you are representing

yourseif, provide same.)

Iason S_ Robcrts, E`sq', GRANT, GENOVESE & BAR.ATI`A, LLP
2030 Main Strect, Suite 1600, vairic, CA 92614

(949) 660-1600

 

Attomeys (If Known)

Steven C. Eggleston, Esq.

LAW OFFICES OF STEV'EN C EGGLESTON
2601 Main Street, Suite 800

lrvine, CA 92614

 

II. BASIS OF J'URISD[CI`ION (Plsr:c an X in one box only_)

El l U.S. Govemment Plaintiff

1:1 2 U.S. Govom.menl Defendant

d3 cheral Queslion (U_S.
Govem.ment Not a Party)

of Partios in Item HI)

IV. ORIGIN (Piace an X in one box only.)

nfl original
Proceedlng

Appellate Court

11 4 Diversity (lndicatc Citizenship

13 2 Removed from 1:| 3 Remanded from 1:1 4 Reinstaled or

State Court Reopened

 

III. CI'I`lZENSHlP OF PRINCIPAL PA.RTIES - For Diversity Cases Only
(Piace an X in one box for plaintiff and one for dcfendant.)

PTF DEF
Citizt:n ofThis State 1:1 1 1:1 1
Citizcn of Another State 1:1 2 U 2

Citizcn or Subject of a Foreign Counl:ry § 3

1113

E 5 Transfcrrcd from another district (spccify);

Incorporated or Pn`ncipa.i Place

of Bu$iness in this State

Incorporated and Principal Placc E 5

PTF
1:1 4

DEF
|:1 4

1115

of Business in Another State

Foreign Nation

111 6 Mulli-
Distn`ct

Liligation

\:\6 1:16

|:1 7 Appeal to Dish'ict

Judge from
Magistrate Judge

 

V. REQUESTED [N COMPLAINT: JURY DEM.AND: |:1 Yes Ei'No (Check ‘ch’ only if demanded in complaint.)
cLAss ActloN nude F.n,c.P. 23: o Yes 'm’Na

E{MONE¥ DEMANDED l'N CUMPLAINT: $ None

 

VL CAUSE OF ACTION (Clta the U.S. Civil Statute under which you are filing and write a brief statement of cause Do not cite jurisdictional statutes unless diversity.)
Equitable Relief under ER_ISA 502(a)(e)', 29 UtS.C. 1132 (a)(e)

 

Vl]. NATURE OF SUTT (Place an Xin coe box only.}

 

  
    

  

  

 

 

   
 

 

 

 
   

   
   

 

 

   

 

 

 

     

 

    
 

 
  
  

 

   
    

 

 

 

 

 

 

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U 450 Commeroe/ICC El 140 Negotia.ble Instrurnent L\ab‘hry 1:1 371 Truth in Lending Habea.'s Corpu$ Relations
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E| 490 Cable.lSat TV _ Student Loan (Exc1. m 350 Momr Vehicle 150 Empl_-Ret. Inc_
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Act fl 196 Franchise |;| 365 Asbegtos Personal 111 445 American with |:] 630 Liquor Laws ij 363 DIWC/DIWW
|:1 893 Env‘iron.mcntal Matters lnjury Product Disabilities - C] 640 R.R & Truck (405(g))
El 894 Energy Allocatinn Act ij 2l0 Land Condemnation Liab` ` Employrnent El 650 Airline Regs l:l 864 SSlD Title XVI
Ci 895 Freedom of lnfo. Act C] 220 ForecIosure ' 1 1:1 446 Amcn'can with |:l 660 Occupational 1:1 365 RSI 405 -
1___1 900 Appeai of Fee Determi~ E| 230 R.ent Lea.se & Ejectment 5 452 Nat“laiila'i°" Disabilities - Safety /Health
nation Under Equal l:| 240 Torts to Land Allllli€lii°“ Other U 690 Otber |:1 870 Taxes (U,S_ Plaintiff
Access to Justice ij 245 'I`ort Product Liability 13 463 H§b“$ C°§'P“S‘ C| 440 Other Civil or Defendant)
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SACV]_}..[F[JJL uvv \ )
FOR OFFICE USE ONLY: Case Number:
AFTER COMPLETlNG THE FRONT SIDE OF FORM CV-71, COM]’LETE THE lNFORMA'I`ION REQUESTED BEL()W`
CV-71 (05/08) C[VIL COVER SHEET Page 1 OfZ

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ue__,,___j¢

UN[TED STATES DISTRICT COUR'I`, CENTRAL DISTRICT OF CALIFORNIA
CIVIL COVER SHEE'I`

Vl[](a). lDEl‘~lTICAL CASES: Has this action been previously filed in this court and dismissed, remanded or closed'l MNQ El Yes
lfyes, list case number(s):

 

VIII(b). RELATED CASES: Have any cases been previously filed in this court that are related to the present case? E{No El Yes
Ifyes, list case number(s):

 

Civil cases are deemed related if a previously Hled case and the present case:
(Checlc all boxes that apply) El A. Arise from the same or closely related transactions, happenings, or events; or
|:l B. Call for determination of the same or substantially related or similar questions of law and fact‘, or
C| C. For other reasons would entail substantial duplication of labor if heard by different judges; 01'
ij D. Involve the same patent, trademark or copyright an_d one of the factors identified above in a, b or c also is present

 

IX. VENUE: (When completing the following information7 use an additional sheet if necessary.)

(a) List the County in this District; Califomia County outside of this District; State if other than California', or Foreign Country, in which EACH named plaintiff resides
I:l Cl'ieck here if the government, its agencies or employees is a named plaintiff lf this box is checked_ go to item (b)i

 

Coo,nty in this District:’ Califomia County outside of this Distiict; State, if other than Califomia; or Foreign Coimtry

 

Orange

 

 

(b) List the County in this District; Califomia County outside of this District; State if other than Califomia', or Foreign Country, in which EACH named defendant resides
E Check here if the government, its agencies or employees is a named defendant If this box is checked, go to item (c).

 

County in this District;* California Courity outside of this District; State, if other than California; or Foreign Counn-y

 

Orange

 

(c) List the County in this District; Califomia County oumide of this District; State if other than Califomia', or Foreign Country, in which EACH claim arose.
Note: fn land condemnation cnses, use the location of the tract niland involved.

 

Cou.nty in this District“ California County outside of this District; State, if other than Califomia; or Foreign Cou.ntry

 

Orartge

 

 

 

 

* Los Ange|es, Orangc, San Bernardino, Ri'verside, Ventura, Sanin Barbara, an Luis Obispo Counties'
Note: In land condemnation cases use the location of the tracLof lanWolved/

W///V_\ Date 09/01/11

S~44) C ' b Cover Sheet and the information contained herein neither replace nor supplement the filing and Service of pleadings
, ved by the J udicial Confercnce of the United States in September 1974, is required pursuant to Local Rule 3-1 is not filed
purpose of statistics, venue and initiating the civil docket sheet (For more detailed instructionsj see separate instructions sheet.)

 
  
   
  

X, SIGNATURE OF A'I'I`ORNEY (OR PRO P

Notice to CounseUParties: The CV~7l
or other papers as required by an. This f
but is used by the Clerl< of the Couit for

 

Key lo Statistical codes relating to Social Security Cases;
Nature of Suit Code Abbreviation Substaotive Statement of Cause of Action

861 HlA All claims for health insurance benefits (Medicare) under Tille lB, Part A, of the Social Security Act, as amended
Also, include claims by hospitals, skilled nursing facilities, etc., for certification as providers of services under the
program (42 U.SrC. 1935FF(b))

862 BL All claims for “Black Lung" benefits under Title 4, Part B, of the Federal Coal Mine Health and Safety Act of 1969.

(3(] U,SiC. 923)

863 DIWC All claims filed by insured workers for disability insurance benefits under Title 2 of the Social Security Aci, as
amended; plus all claims filed for child’s insurance benefits based on disability (42 U.S.C, 405(g))

863 DIWW Ali claims filed for widows or widowers insurance benefits based on disability under Title 2 of the Social Security
Act, as amended (42 U.S.C. 405(3))

864 SSID All claims for supplemental security income payments based upon disability filed under Title 16 ofthe Soeial Security
Act, as amended

865 RSI ' All claims for retirement (0ld age) and survivors benefits under Title 2 ofthe Social Security Acl, as amended. (42
11 S.C. <g))

 

CV-'r'l (OS/GB) C[V[L C()VER SHEET Page 2 oil

Case 8:11-Cv-01331-DOC-,L. Document 1 Filed 09/01/11 Pa.lB of 46 Page |D #:115

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

NOTICE OF ASSIGNMENT TO UNITED STATES MAGISTRATE JUDGE FOR DISCOVERY

This case has been assigned to District Judge David O. Carter and the assigned
discovery Magistrate Judge is Artbur Nal<azato.

The case number on all documents filed with the Court should read as follows:

sAcvll- 1331 Doc (ANx)

Pursuant to General Order 05-07 of the United States District Court for the Central
District of California, the Magistrate Judge has been designated to hear discovery related
motions

All discovery related motions should be noticed on the calendar of the Magistrate Judge

NOT|CE TO COUNSEL

A copy of this notice must be served with the summons and complaint on ali defendants (if a removal action is
filed, a copy of this notice must be served on ail plaintiffs).

Subsequent documents must be filed at the following |ocation:

Western Division [)(] Southern D|vlsion Eastern Division
312 N. Spring St., Rm. G-B 411 West Fourth St., Rm. 1-053 3470 Twelfth St., Rm. 134
Los Ange|es, CA 90012 Santa Ana, CA 92701-4516 Riverside, CA 92501

Failure to Hle at the proper location will result in your documents being relurned to you.

 

CV-18 (03/06) NOT|CE OF ASS|GNMENT TO UN|TED STATES MAG|STRATE JUDGE FOR DlSCOVERY

Case 8:11-cV-01331-DOC-U Document 1 Filed 09/01/11 P¥ 46 of 46 Page |D #:116

Jason S. Roberts (SBN 221978)

GRANT, GENOVESE & BARATTA, LLP
2030 Main Street, Suite 1600

Irvine, CA 92614

Telephone: (949) 660-1600

 

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA
UNITEDHEALTH GROUP EMPLOYEE HEALTH CASE NUMBER
BENEFIT PLAN

PLAJNTIFF(s) SACVH`01331 DOC (ANx)

v.
DAVID SANDHU; STEVEN C. EGGLESTON DBA
LAW OFFICES OF STEVEN C. EGGLESTON; and
DOES 1 through 20, inclusive,

 

SUMMONS

DEFENDANT(S).

 

 

TO; DEFENDANT(S); DAvID sANDHU; ervEN C. EGGLESTON DBA LAW orricas or sTEvE
EGGLESTON

A lawsuit has been filed against you.

Within 21 days after service of this Summons on you (not counting the day you received it), you

 

must serve on the plaintiff an answer to the attached lilcornplaint E amended complaint

E counterclaim [| cross-claim or a motion under Rule 12 of the Federal Rules of Civil Procedure._ The answer
or motion must be served on the plaintiff s attomey, JaSOn S ROb¢I'fS , Whose address is
2030 Main Street, Suite 1600, Irvine, CA 92614 _ Ifyou fail to do 505

 

judgment by default will be entered against you for the relief demanded in the complaint You also must file
your answer or motion with the court.

Clerk, U.S. District Courtg;/t-F,‘ l 7 *3:;
*-’F , ‘
my iia@ui ,
\ j i'
Deputy Cleikg,:" U\ ~/t `
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('Seal ofthe Couri)

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\." §,\= ,"

Dated: Seq_>lrcw~\>\% thtl By:

[Use 60 days ifthe defendant is the United State.r or a United States agency, or is an oj‘icer or employee ofthe United Statesi A[lowed
60 days by Rul'e 12(a)(3)].

 

cv-oiA (iz/m) sUMMONs

